     Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 1 of 15 PageID #:321




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CONVERSE INC.,
                                                   Case No. 21-cv-05701
               Plaintiff,
                                                   Judge Franklin U. Valderrama
v.
                                                   Magistrate Judge Maria Valdez
THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

               Defendants.


    MEMORANDUM IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION FOR
 ENTRY OF A TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY
INJUNCTION, A TEMPORARY ASSET RESTRAINT, AND EXPEDITED DISCOVERY

        Plaintiff Converse Inc. (“Plaintiff” or “Converse”) submits this Memorandum in support

of its Ex Parte Motion for Entry of a Temporary Restraining Order (“TRO”), including a

temporary injunction, a temporary asset restraint, and expedited discovery (the “Ex Parte

Motion”).




                                               i
       Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 2 of 15 PageID #:322




                                                 TABLE OF CONTENTS

I.        INTRODUCTION AND SUMMARY OF ARGUMENT ................................................. 1

II.       STATEMENT OF FACTS ................................................................................................. 2

          A.        Converse’s Trademarks and Products ..................................................................... 2

          B.        Defendants’ Unlawful Activities ............................................................................ 3

III.      ARGUMENT ...................................................................................................................... 3

          A.        Standard for Temporary Restraining Order and Preliminary Injunction ................ 5

          B.        Converse Will Likely Succeed on the Merits ......................................................... 5

          C.        There Is No Adequate Remedy at Law, and Converse Will Suffer Irreparable

                    Harm in the Absence of Preliminary Relief ............................................................ 7

          D.        The Balancing of Harms Tips in Converse’s Favor, and the Public Interest Is

                    Served by Entry of the Injunction ........................................................................... 8

IV.       THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE ............................................. 9

          A.        A Temporary Restraining Order Immediately Enjoining Defendants’

                    Unauthorized and Unlawful Use of the Converse Trademarks Is Appropriate .... 10

          B.        Preventing the Fraudulent Transfer of Assets Is Appropriate .............................. 10

          C.        Converse Is Entitled to Expedited Discovery ....................................................... 11

V.        A BOND SHOULD SECURE THE INJUNCTIVE RELIEF .......................................... 12

VI.       CONCLUSION ................................................................................................................. 12




                                                                    ii
      Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 3 of 15 PageID #:323




                                     MEMORANDUM OF LAW

I.        INTRODUCTION AND SUMMARY OF ARGUMENT

          Converse is requesting temporary ex parte relief based on an action for trademark

infringement, counterfeiting, and false designation of origin against the defendants identified on

Schedule “A” to the Complaint (collectively, the “Defendants”). As alleged in Converse’s

Complaint, Defendants are offering for sale and/or selling unauthorized and unlicensed products

using counterfeit and infringing versions of Converse’s federally registered trademarks (the

“Counterfeit Converse Products”) through at least the fully interactive, e-commerce stores1

operating under the seller aliases identified in Schedule A to the Complaint (the “Seller

Aliases”).

          Defendants run a sophisticated counterfeiting operation and have targeted sales to Illinois

residents by setting up and operating e-commerce stores using one or more Seller Aliases

through which Illinois residents can purchase Counterfeit Converse Products. Many of the e-

commerce stores operating under the Seller Aliases share unique identifiers, indicating that their

counterfeiting operations arise out of the same transaction, occurrence, or series of transactions

or occurrences and establishing a logical relationship between them. However, Defendants

attempt to avoid and mitigate liability by operating under one or more Seller Aliases to conceal

both their identities and the full scope of their operations. E-commerce platforms used by

Defendants – including Amazon, eBay, AliExpress, Alibaba, Wish.com, and Dhgate – fail to

adequately subject new sellers to verification and confirmation of their identities, allowing

counterfeiters to use false or inaccurate names and addresses when registering their e-commerce

stores. Further, these e-commerce platforms continue to be unable or unwilling to prevent the

rampant and flagrant listing of counterfeit products on their platforms. Thus, Converse is forced

1
    The e-commerce store urls are listed on Schedule A to the Complaint under Online Marketplaces.

                                                     1
      Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 4 of 15 PageID #:324




to file this action to discover the full scope of the infringement and attempt to stop Defendants’

counterfeiting of the registered Converse trademarks, as well as to protect unknowing consumers

from purchasing Counterfeit Converse Products on U.S.-facing e-commerce platforms.

Defendants’ ongoing unlawful activities should be restrained, and Converse respectfully requests

that this Court issue ex parte a Temporary Restraining Order.

II.      STATEMENT OF FACTS

         A.    Converse’s Trademarks and Products

         Founded in 1908, Converse is a lifestyle brand engaged in the design, distribution, and

sale of footwear, apparel, and accessories (collectively, the “Converse Products”).           See

Declaration of Joe Pallett (the “Pallett Declaration”) at ¶ 4. Converse is a leading designer,

marketer, and distributor of footwear and apparel, which are marked with the famous Converse

trademarks. Id.

         Many Converse trademarks are registered with the United States Patent and Trademark

Office (collectively, the “Converse Trademarks”). Id. at ¶ 7. The U.S. registrations for the

Converse Trademarks are valid, subsisting, in full force and effect, and many are incontestable

pursuant to 15 U.S.C. § 1065. Id. at ¶ 8. The registrations for the Converse Trademarks

constitute prima facie evidence of their validity and of Converse’s exclusive right to use the

Converse Trademarks pursuant to 15 U.S.C. § 1057(b). Converse has continuously used the

Converse Trademarks in interstate commerce in connection with the sale, distribution,

promotion, and advertising of genuine Converse Products since their respective dates of first use

as noted on the federal trademark registration certificates. Id. at ¶ 10.

         Genuine Converse Products are distributed and sold to consumers through retailers

throughout the United States, including through authorized retailers in Illinois and the



                                                  2
       Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 5 of 15 PageID #:325




converse.com website. Id. at ¶ 12. Converse Products have become some of the most popular of

their kind in the world. Id. at ¶ 15.

          B.     Defendants’ Unlawful Activities

          The success of the Converse brand has resulted in significant counterfeiting of

Converse’s trademarks.       Id. at ¶ 17. In recent years, Converse has identified many fully

interactive, e-commerce stores offering counterfeit Converse Products on online marketplace

platforms such as Amazon, eBay, AliExpress, Alibaba, Wish.com, and Dhgate, including the e-

commerce stores operating under the Seller Aliases, which were offering for sale and selling

Counterfeit Converse Products to consumers in this Judicial District and throughout the United

States.    Id.   Converse’s well-pleaded allegations regarding registration patterns, similarities

among the e-commerce stores operating under the Seller Aliases and the Counterfeit Converse

Products for sale thereon, and common tactics employed to evade enforcement efforts establish a

logical relationship among the Defendants and that Defendants are interrelated. If Defendants

provide additional credible information regarding their identities, Converse will take appropriate

steps to amend the Complaint.

III.      ARGUMENT

          Defendants’ purposeful, intentional, and unlawful conduct is causing and will continue to

cause irreparable harm to Converse’s reputation and the goodwill symbolized by the Converse

Trademarks. Rule 65(b) of the Federal Rules of Civil Procedure provides that the Court may

issue an ex parte TRO where immediate and irreparable injury, loss, or damage will result to the

applicant before the adverse party or that party's attorney can be heard in opposition. Fed. R.

Civ. P. 65 (b). The entry of a TRO is appropriate because it would immediately stop the

Defendants from benefiting from their wrongful use of the Converse Trademarks and preserve

the status quo until a hearing can be held.

                                                  3
    Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 6 of 15 PageID #:326




       In the absence of a TRO without notice, the Defendants can and likely will register new

e-commerce stores under new aliases and move any assets to offshore bank accounts outside the

jurisdiction of this Court. See Declaration of Justin R. Gaudio (the “Gaudio Declaration”) at ¶¶

5-11. Courts have recognized that civil actions against counterfeiters present special challenges

that justify proceeding on an ex parte basis. See Columbia Pictures Indus., Inc. v. Jasso, 927 F.

Supp. 1075, 1077 (N.D. Ill. 1996) (observing that “proceedings against those who deliberately

traffic in infringing merchandise are often useless if notice is given to the infringers”). As such,

Converse respectfully requests that this Court issue the requested ex parte TRO.

       This Court has original subject matter jurisdiction over the claims in this action pursuant

to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. §§ 1338(a)-(b), and 28

U.S.C. § 1331. Venue is proper pursuant to 28 U.S.C. § 1391.

       This Court may properly exercise personal jurisdiction over Defendants since Defendants

directly target business activities toward consumers in the United States, including Illinois,

through at least the fully interactive, e-commerce stores operating under the Seller Aliases.

Specifically, Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases through

which Illinois residents can purchase Counterfeit Converse Products. See Complaint at ¶¶ 2, 19,

29 and 30. See, e.g., Christian Dior Couture, S.A. v. Lei Liu et al., 2015 U.S. Dist. LEXIS

158225, at *6 (N.D. Ill. Nov. 17, 2015) (personal jurisdiction proper over defendant offering to

sell alleged infringing product to United States residents, including Illinois; no actual sale

required).

       Each of the Defendants is committing tortious acts in Illinois, is engaging in interstate

commerce, and has wrongfully caused Converse substantial injury in the State of Illinois.



                                                 4
    Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 7 of 15 PageID #:327




       A.      Standard for Temporary Restraining Order and Preliminary Injunction

       District Courts within this Circuit hold that the standard for granting a TRO and the

standard for granting a preliminary injunction are identical. See, e.g. Charter Nat’l Bank & Trust

v. Charter One Fin., Inc., No. 1:01-cv-00905, 2001 WL 527404, at *1 (N.D. Ill. May 15, 2001)

(citation omitted). A party seeking to obtain a preliminary injunction must demonstrate: (1) that

its case has some likelihood of success on the merits; (2) that no adequate remedy at law exists;

and (3) that it will suffer irreparable harm if the injunction is not granted. See Ty, Inc. v. The

Jones Group, Inc., 237 F.3d 891, 895 (7th Cir. 2001).

       If the Court is satisfied that these three conditions have been met, then it must consider

the harm that the nonmoving party will suffer if preliminary relief is granted, balancing such

harm against the irreparable harm the moving party will suffer if relief is denied. Id. Finally, the

Court must consider the potential effect on the public interest (non-parties) in denying or

granting the injunction. Id. The Court then weighs all of these factors, “sitting as would a

chancellor in equity,” when it decides whether to grant the injunction. Id. (quoting Abbott Labs.

v. Mead Johnson & Co., 971 F.2d 6, 11 (7th Cir. 1992)). This process involves engaging in what

the Court has deemed “the sliding scale approach” – the more likely the plaintiff will succeed on

the merits, the less the balance of harms need favor the plaintiff's position. Id.

       B.      Converse Will Likely Succeed on the Merits

       A defendant is liable for trademark infringement and counterfeiting under the Lanham

Act if it, “without the consent of the registrant, use[s] in commerce any reproduction, copy, or

colorable imitation of a registered mark in connection with the sale, offering for sale,

distribution, or advertising of any goods … which such use is likely to cause confusion, or to

cause mistake, or to deceive.” 15 U.S.C. § 1114(1). A Lanham Act trademark infringement

claim has two elements. See 15 U.S.C. § 1125(a). First, plaintiff must show “that its mark is

                                                  5
   Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 8 of 15 PageID #:328




protected under the Lanham Act.” Barbecue Marx, Inc. v. 551 Ogden, Inc., 235 F.3d 1041,

1043 (7th Cir. 2000).     Second, a plaintiff must show that the challenged mark is likely to

cause confusion among consumers. Id.

       In this case, the Converse Trademarks are inherently distinctive and are registered with

the United States Patent and Trademark Office. Pallett Declaration at ¶¶ 7, 9. The registrations

for the Converse Trademarks are valid, subsisting, in full force and effect, and many are

incontestable pursuant to 15 U.S.C. § 1065. Id. at ¶ 8. The registrations constitute prima facie

evidence of their validity and of Converse’s exclusive right to use the Converse Trademarks

pursuant to 15 U.S.C. § 1057(b).       Furthermore, Converse has not licensed or authorized

Defendants to use any of the Converse Trademarks, and none of the Defendants are authorized

retailers of genuine Converse Products. Id. at ¶ 20. Thus, Converse satisfies the first element of

its Lanham Act claim.

       The Seventh Circuit has held that where “one produces counterfeit goods in an apparent

attempt to capitalize upon the popularity of, and demand for, another’s product, there is a

presumption of a likelihood of confusion.” Microsoft Corp. v. Rechanik, 249 F. App’x 476, 479

(7th Cir. 2007). Accordingly, the Court can presume a likelihood of confusion from Defendants’

use of the Converse Trademarks. The result is the same when considered in light of the Seventh

Circuit’s seven enumerated factors to determine whether there is a likelihood of confusion,

which include: (1) similarity between the marks in appearance and suggestion; (2) similarity of

the products/services; (3) area and manner of concurrent use; (4) degree of care likely to be

exercised by consumers; (5) strength of complainant's mark; (6) actual confusion; and (7) intent

of the defendants to palm off their products as that of another.   AutoZone, Inc. v. Strick, 543




                                                6
    Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 9 of 15 PageID #:329




F.3d 923, 929 (7th Cir. 2008). No one factor is dispositive, but the similarity of the marks,

actual confusion, and the defendant’s intent are “particularly important.” Id.

       Converse has submitted extensive documentation showing that Defendants are selling

Counterfeit Converse Products that look similar to genuine Converse Products and use infringing

and counterfeit marks identical to the Converse Trademarks. Both Converse and Defendants

advertise and sell their products to consumers via the Internet, targeting consumers looking for

genuine Converse Products. Pallett Declaration at ¶¶ 12, 20. Those consumers are diverse with

varying degrees of sophistication, and they are likely to have difficulty distinguishing genuine

Converse Products from Counterfeit Converse Products. Indeed, it appears that Defendants are

intentionally trying to induce consumers looking for genuine Converse Products to purchase

Counterfeit Converse Products instead.        In that regard, Defendants advertise Counterfeit

Converse Products using the Converse Trademarks. Pallett Declaration at ¶¶ 18, 19. Evidence

of actual consumer confusion is not required to prove that a likelihood of confusion exists,

particularly given the compelling evidence that Defendants are attempting to “palm off” their

goods as genuine Converse Products. CAE, Inc. v. Clean Air Eng’g, Inc., 267 F.3d 660, 685 (7th

Cir. 2001).   Accordingly, Converse is likely to establish a prima facie case of trademark

infringement, counterfeiting, and false designation of origin.

       C.      There Is No Adequate Remedy at Law, and Converse Will Suffer Irreparable
               Harm in the Absence of Preliminary Relief

       The Seventh Circuit has “clearly and repeatedly held that damage to a trademark holder's

goodwill can constitute irreparable injury for which the trademark owner has no adequate legal

remedy.” Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (citing Eli Lilly &

Co. v. Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir. 2000)). Irreparable injury “almost

inevitably follows” when there is a high probability of confusion because such injury “may not


                                                 7
   Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 10 of 15 PageID #:330




be fully compensable in damages.” Helene Curtis Industries, Inc. v. Church & Dwight Co., Inc.,

560 F.2d 1325, 1332 (7th Cir. 1977) (citation omitted). “The most corrosive and irreparable

harm attributable to trademark infringement is the inability of the victim to control the nature and

quality of the defendants’ goods.” Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846

F.2d 1079, 1092 (7th Cir. 1988). As such, monetary damages are likely to be inadequate

compensation for such harm. Ideal Indus., Inc. v. Gardner Bender, Inc., 612 F.2d 1018, 1026

(7th Cir. 1979).

       Defendants’ unauthorized use of the Converse Trademarks has and continues to

irreparably harm Converse through diminished goodwill and brand confidence, damage to

Converse’s reputation, loss of exclusivity, and loss of future sales. Pallett Declaration at ¶¶ 28-

32. The extent of the harm to Converse’s reputation and goodwill and the possible diversion of

customers due to loss in brand confidence are both irreparable and incalculable, thus warranting

an immediate halt to Defendants’ infringing activities through injunctive relief. See Promatek

Industries, Ltd. v. Equitrac Corp., 300 F.3d 808, 813 (7th Cir. 2002) (finding that damage to

plaintiff’s goodwill was irreparable harm for which plaintiff had no adequate remedy at law).

Converse will suffer immediate and irreparable injury, loss, or damage if an ex parte Temporary

Restraining Order is not issued in accordance with Federal Rule of Civil Procedure 65(b)(1).

Pallett Declaration at ¶ 33.

       D.     The Balancing of Harms Tips in Converse’s Favor, and the Public Interest Is
               Served by Entry of the Injunction

       As noted above, if the Court is satisfied that Converse has demonstrated (1) a likelihood

of success on the merits, (2) no adequate remedy at law, and (3) the threat of irreparable harm if

preliminary relief is not granted, then it must next consider the harm that Defendants will suffer

if preliminary relief is granted, balancing such harm against the irreparable harm Converse will


                                                 8
   Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 11 of 15 PageID #:331




suffer if relief is denied. Ty, Inc., 237 F.3d at 895. As willful infringers, Defendants are entitled

to little equitable consideration. “When considering the balance of hardships between the parties

in infringement cases, courts generally favor the trademark owner.” Krause Int’l Inc. v. Reed

Elsevier, Inc., 866 F. Supp. 585, 587-88 (D.D.C. 1994). This is because “[o]ne who adopts the

mark of another for similar goods acts at his own peril since he has no claim to the profits or

advantages thereby derived.” Burger King Corp. v. Majeed, 805 F. Supp. 994, 1006 (S.D. Fla.

1992) (internal quotation marks omitted). Therefore, the balance of harms “cannot favor a

defendant whose injury results from the knowing infringement of the plaintiff's trademark.”

Malarkey-Taylor Assocs., Inc. v. Cellular Telecomms. Indus. Ass’n., 929 F. Supp. 473, 478

(D.D.C. 1996).

       As Converse has demonstrated, Defendants have been profiting from the sale of

Counterfeit Converse Products. Thus, the balance of equities tips decisively in Converse’s favor.

The public is currently under the false impression that Defendants are operating their e-

commerce stores with Converse’s approval and endorsement. In this case, the injury to the

public is significant, and the injunctive relief that Converse seeks is specifically intended to

remedy that injury by dispelling the public confusion created by Defendants’ actions. As such,

equity requires that Defendants be ordered to cease their unlawful conduct.

IV.    THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

       The Lanham Act authorizes courts to issue injunctive relief “according to the principles

of equity and upon such terms as the court may deem reasonable, to prevent the violation of any

right of the registrant of a mark….” 15 U.S.C. § 1116(a).




                                                 9
      Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 12 of 15 PageID #:332




          A.      A Temporary Restraining Order Immediately Enjoining Defendants’
                  Unauthorized and Unlawful Use of the Converse Trademarks Is Appropriate

          Converse requests a temporary injunction requiring Defendants to immediately cease all

use of the Converse Trademarks, or substantially similar marks, on or in connection with all e-

commerce stores operating under the Seller Aliases. Such relief is necessary to stop the ongoing

harm to the Converse Trademarks and associated goodwill, as well as harm to consumers, and to

prevent the Defendants from continuing to benefit from their unauthorized use of the Converse

Trademarks.       The need for ex parte relief is magnified in today’s global economy where

counterfeiters can operate anonymously over the Internet. Converse is currently unaware of both

the true identities and locations of the Defendants, as well as other e-commerce stores used to

distribute Counterfeit Converse Products. Many courts have authorized immediate injunctive

relief in similar cases involving the unauthorized use of trademarks and counterfeiting. See, e.g.,

Deckers Outdoor Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. Apr. 4,

2015) (unpublished) (Order granting Ex Parte Motion for Temporary Restraining Order).

          B.      Preventing the Fraudulent Transfer of Assets Is Appropriate

          Converse requests an ex parte restraint of Defendants’ assets so that Converse’s right to

an equitable accounting of Defendants’ profits from sales of Counterfeit Converse Products is

not impaired.2 Issuing an ex parte restraint will ensure Defendants’ compliance. If such a

restraint is not granted in this case, Defendants may disregard their responsibilities and

fraudulently transfer financial assets to overseas accounts before a restraint is ordered.

Specifically, on information and belief, the Defendants in this case hold most of their assets in

off-shore accounts, making it easy to hide or dispose of assets, which will render an accounting

by Converse meaningless.


2
    Converse has filed a Motion for Leave to File Under Seal certain documents for this same reason.

                                                     10
   Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 13 of 15 PageID #:333




       Courts have the inherent authority to issue a prejudgment asset restraint when plaintiff’s

complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707,

709 (5th Cir. 2007). In addition, Converse has shown a strong likelihood of succeeding on the

merits of its trademark infringement and counterfeiting claim, so according to the Lanham Act

15 U.S.C. § 1117(a) (1), Converse is entitled, “subject to the principles of equity, to recover ...

defendant’s profits.” Converse’s Complaint seeks, among other relief, that Defendants account

for and pay to Converse all profits realized by Defendants by reason of Defendants’ unlawful

acts. Therefore, this Court has the inherent equitable authority to grant Converse’s request for a

prejudgment asset freeze to preserve relief sought by Converse.

       The Northern District of Illinois in Lorillard Tobacco Co. v. Montrose Wholesale

Candies entered an asset restraining order in a trademark infringement case brought by a tobacco

company against owners of a store selling counterfeit cigarettes. Lorillard, 2005 WL 3115892 at

*13 (N.D. Ill. Nov. 8, 2005). The Court recognized that it was explicitly allowed to issue a

restraint on assets for lawsuits seeking equitable relief.      Id. (citing Grupo Mexicano, de

Desarollo, S.A. v. Aliance Bond Fund, 527 U.S. 308, 325 (1999)). Because the tobacco company

sought a disgorgement of the storeowner’s profits, an equitable remedy, the Court found that it

had the authority to freeze the storeowner’s assets. Id.

       Converse has shown a likelihood of success on the merits, an immediate and irreparable

harm suffered as a result of Defendants’ activities, and that, unless Defendants’ assets are frozen,

Defendants will likely hide or move their ill-gotten funds to offshore bank accounts.

Accordingly, an asset restraint is proper.

       C.      Converse Is Entitled to Expedited Discovery

       The United States Supreme Court has held that “federal courts have the power to order, at

their discretion, the discovery of facts necessary to ascertain their competency to entertain the

                                                 11
     Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 14 of 15 PageID #:334




merits.” Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, *6 (N.D. Ill. Dec. 21, 2007)

(quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)). Courts have wide

latitude in determining whether to grant a party's request for discovery. Id. (citation omitted).

Further, courts have broad power over discovery and may permit discovery in order to aid in the

identification of unknown defendants. See Fed. R. Civ. P. 26(b)(2).

        Converse respectfully requests expedited discovery to discover bank and payment system

accounts Defendants use for their counterfeit sales operations.         The expedited discovery

requested in Converse’s Proposed TRO is limited to include only what is essential to prevent

further irreparable harm. Discovery of these financial accounts so that they can be frozen is

necessary to ensure that these activities will be contained.          See, e.g., Deckers Outdoor

Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. April 4, 2015) (unpublished).

Converse’s seizure and asset restraint may have little meaningful effect without the requested

relief. Accordingly, Converse respectfully requests that expedited discovery be granted.

V.      A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

        The posting of security upon issuance of a TRO or preliminary injunction is vested in the

Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d 787, 789 (8th Cir. 1989).

Because of the strong and unequivocal nature of Converse’s evidence of counterfeiting,

infringement, and false designation of origin, Converse respectfully requests this Court require it

to post a bond of no more than ten thousand U.S. dollars ($10,000.00). See, e.g., Deckers

Outdoor Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. April 4, 2015)

(unpublished) ($10,000 bond).

VI.     CONCLUSION

        Defendants’ counterfeiting operation is irreparably harming Converse’s business, its

famous Converse brand, and consumers. Without entry of the requested relief, Defendants’ sale

                                                12
   Case: 1:21-cv-05701 Document #: 12 Filed: 11/01/21 Page 15 of 15 PageID #:335




of Counterfeit Converse Products will continue to lead prospective purchasers and others to

believe that Defendants’ Counterfeit Converse Products have been manufactured by or emanate

from Converse, when in fact, they have not. Therefore, entry of an ex parte order is necessary.

In view of the foregoing and consistent with previous similar cases, Converse respectfully

requests that this Court enter a Temporary Restraining Order in the form submitted herewith.

Dated this 1st day of November 2021.        Respectfully submitted,


                                            /s/ Justin R. Gaudio
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            RiKaleigh C. Johnson
                                            Jake M. Christensen
                                            Greer, Burns & Crain, Ltd.
                                            300 South Wacker Drive, Suite 2500
                                            Chicago, Illinois 60606
                                            312.360.0080 / 312.360.9315 (facsimile)
                                            aziegler@gbc.law
                                            jgaudio@gbc.law
                                            rjohnson@gbc.law
                                            jchristensen@gbc.law

                                            Counsel for Plaintiff Converse Inc.




                                               13
